






Opinion issued April 10, 2003 












In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-01351-CR

____________


AUGUST EUGENE GEORGE, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 228th District Court

Harris County, Texas

Trial Court Cause No. 688799






MEMORANDUM  OPINION

	Appellant filed a motion to dismiss the appeal.  The motion is in writing,
signed by appellant and counsel.  We have not yet issued a decision.  Accordingly,
the appeal is dismissed.  Tex. R. App. P. 42.2(a).

	The clerk of this Court is directed to issue the mandate immediately.  Tex.
R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Hedges, Jennings, and Alcala.

Do not publish.  Tex. R. App. P. 47.2(b).


